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BARR:$TERS | sOLlclToRs

Kenna Piace

8, Ogunyemi Road

Palaoe Way. Oniru

P 0 Box 73002 Wctcrla ls|and, Lagos

T +234 811 395 1052, +234 811 395 1053
E counselokennapartners.oom

Skype: counsel.kennapartners
www.kennapartners.com

..Iune 4, 2018

Terra Marine Attorneys
95, Awolowo Road
SW lkoyi, Lagos, Nigeria

Attention: llllr Wuyi Ogunyinka
Dear Mr Ogunyinka,

RE: ER|N PETROLEUM NlGER|A LlM|TED'(PREVlOUSLY KNOWN AS CAMAC
PETROLEUM LlM|TED) NOT|CE OF APPO|NTMENT OF RECE|VERIMANAGER

lN RE: ER|N PETROLEUM NlGER|A LlM|TED V CRED|TORS LOCATED IN
NlGERlA SU|T NO. FHCILINRJI3I2018

LETTER FORWARD|NG APPL|CAT|ON TO SET ASIDE REG|STRAT|ON ORDER

We are Counse| to Zenith Bank Plc (“our Client”), a Secured Creditor of Erin
Petroleum Nigeria Limited (both companies registered under the laws of the Federa|
Republic of Nigeria).

We are in receipt of your letter dated May 31, 2018, to which our C|ient was copied.
The said letter was addressed to J.K. Randle Professional Services.

This serves to bring to your attention the fact that we have today, June 4, 2018 filed
an application before the Federal High Court (coram H.R. Shagaril J.) for an Order
setting aside the Order made by the Honourable Court on May 25, 2018 registering
the Order of the United States Bankruptcy Court of the Southern District of Texas,
Houston Division made on May 1, 2018 in the case of Erin Energy Corporation, et al
Debtors, with case No. 18-32186.

The said Motion on Notice, Affidavit and Written Address for an Order setting aside
the Order made by the Honourab|e Court on May 25, 2018 registering die Order of the
United States Ban|<ruptcy Court of the Southern District of Texasl Houston Division
made on May 1, 2018 in the case of Erin Energy Corporation, et al Debtors, with case
No. 18-32186 are enclosed, for your recordsl

Please accept our professional regards

Dr M. Ajogwu, SAN, FClArb: Professor F. Ajogwu, SAN, FC|Arb; |. |mhanze. ACIArb {UK); C. Nwabulu:
M. Echo; J. Fakulude,AC|Arb (UK); C. Onuoma; M. Sowunmi; O. Ekweanrya; 'T. Kechikwu; A. Adeniyi;
K. Erhonse|e; A. Odekunie; U. Umukoro; O. Olumic|e, AClArb (UK]; B. Osazuwa; A. `l‘usuf;

N. Jc-Madugu; A. Okafor; O. Makinde; O. O|anrewaju; J. |yoke; C. Akachukwu; J. Nimpar;

F. Udeh; G. Oyewo|e; E. Alasa; F. Fawehinmi; C. Ezei|o; G. Osoka; C. Ike-Nwabuoku

Case 18-32106 Document 175 Filed in TXSB on 06/04/18

Yours sincerelyl
FOR: KENNA PARTNERS

@Wb\

Bridget Osazuwa
Associate

 

Enc|: 1
Cc:

J.K. Randle Professional Services,

X KPMG House,

One King O|ogunkutere Street,

Park View,

lkoyi, Lagos

Atl:ention: Bashorun J.K. Randle, FCA; OFR

Through: The Registrar (without enclosure)
The Honcurable Justice i-ladiza R. Shagari
Federal High Court,

Lagos.

Kind|y bring to the attention of Her Ladyship.
Thank you.

. Through Ms. LinhThu Do - Case Nl-anager (without enclosure)
Judge Marvin lsgur

The United States Bankruptcy Court

for the Southern District of Texas,

Houston Division.

Re: Erin Energy Corporation, et al. (Debtor),

Case No. 18-32186

Kindiy bring to the attention of
The United States Bankruptcy Judge.
Thank you.

. Okin Adams LLP (without enclosure)
1113 Vine St. Suite 201, Houston,
Texas 77002.

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